            Case 1:24-cv-02595-MMG Document 1 Filed 04/05/24 Page 1 of 9




                           UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X

NATIONAL UNION FIRE INSURANCE                                    :    Case No.: 1:24-cv-2595
COMPANY OF PITTSBURGH, PA,
                                                                 :
                                         Petitioner,

                               v.                                :    PETITION TO CONFIRM AND
                                                                      ENFORCE FINAL ARBITRATION
VOICE TELE SERVICES INC.,                                        :    AWARD


                                         Respondent.             :
 – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X


         Petitioner, National Union Fire Insurance Company of Pittsburgh, PA (“NUFIC”), by and

through its counsel, brings this petition to confirm and enforce a final and binding arbitration award

dated April 7, 2023 (the “Final Award”) rendered against Respondent Voice Tele Services Inc.

(“VTS”) in an American Arbitration Association arbitration captioned AAA No. 01-21-0016-0974

(the “Arbitration”). The Final Award is attached as Exhibit 1 to the Declaration of Kurt W.

Hansson dated April 4, 2024 (the “Hansson Declaration”). The Final Award was issued by a

duly appointed and authorized sole arbitrator, Mr. Mark C. Morril, in New York City, New York,

pursuant to a valid and enforceable arbitration agreement memorialized in the (a) underlying

international trade credit insurance policy between NUFIC and VTS, and (b) Parties’ joint letter

agreement to the American Arbitration Association dated September 2, 2021 (the “Arbitration

Agreement”). See Hansson Decl. Exhibits 2 and 3.

         This Petition is supported by the accompanying Memorandum of Law and the Hansson

Declaration, together with its exhibits. In support of its Petition, NUFIC respectfully states as

follows:
            Case 1:24-cv-02595-MMG Document 1 Filed 04/05/24 Page 2 of 9




                                  SUMMARY OF PETITION

       1.      NUFIC brings this petition pursuant to Chapter 2 of the Federal Arbitration Act

(“FAA”), 9 U.S.C. §§ 201 et seq., which, in relevant part, codifies the United Nations Convention

on the Recognition and Enforcement of Foreign Arbitral Awards, June 10, 1958, 330 U.N.T.S. 38

(the “New York Convention”). In accordance with 9 U.S.C. § 207 and Article III of the New

York Convention, NUFIC petitions this Court to confirm and enforce the Final Award, with which

VTS has refused to comply.

       2.      Accordingly, NUFIC requests that this Court: (1) incorporate the terms of the Final

Award into a judgment in favor of NUFIC; (2) order VTS to pay post-award, pre-judgment interest

at the statutory rate prescribed under 28 U.S.C. § 1961; (3) order VTS to pay post-judgment interest

at the statutory rate prescribed under 28 U.S.C. § 1961; (4) order pre-judgment discovery pursuant

to Fed. R. Civ. P. Rule 64 and New York CPLR § 5229 prior to confirming the Final Award, or in

the alternative, retain jurisdiction after confirming the Final Award to grant pre-judgment

discovery; (5) order the attachment of any assets identified in pre-judgment discovery pursuant to

Fed. R. Civ. P. Rule 64 and New York CPLR § 5229 prior to confirming the Final Award, or in

the alternative, retain jurisdiction after confirming the Final Award to grant pre-judgment

attachment of any assets identified in the pre-judgment discovery; and (6) grant all further relief

that this Court may deem just and proper.




                                                 2
            Case 1:24-cv-02595-MMG Document 1 Filed 04/05/24 Page 3 of 9




                                            PARTIES

       3.      Petitioner NUFIC is a Pennsylvania company with its principal place of business at

1271 Avenue of the Americas, Floor 37, New York, New York 10020. NUFIC was the sole

respondent in the Arbitration.

       4.      Upon information and belief, Respondent VTS is a corporation that is incorporated

in Pennsylvania and has its principal place of business at 1701 Walnut Street, 8th Floor,

Philadelphia, PA 19103.          Upon on information and belief, VTS is an intermediate

telecommunications wholesale carrier of Voice of Internet Protocol (“VoIP”) long distance

minutes and data minutes. VTS was the claimant in the Arbitration that resulted in the Final

Award, with which VTS has refused to comply.

                                 JURISDICTION AND VENUE

       5.      In accordance with the Parties’ Arbitration Agreement, the Final Award was made

in New York, New York by sole arbitrator Mr. Mark C. Morril following an evidentiary hearing

conducted in New York, New York.

       6.      This Court has subject matter jurisdiction over this proceeding pursuant to Section

203 of the FAA, which provides that:

                  An action or proceeding falling under the Convention shall be
               deemed to arise under the laws and treaties of the United States. The
               district courts of the United States (including the courts enumerated
               in section 460 of title 28) shall have original jurisdiction over such
               an action or proceeding, regardless of the amount in controversy.

9 U.S.C. § 203.




                                                 3
             Case 1:24-cv-02595-MMG Document 1 Filed 04/05/24 Page 4 of 9




        7.         This action “fall[s] under the Convention” because, as further described below and

in the accompanying Memorandum of Law, the Final Award arises out of a commercial

relationship between NUFIC and VTS that (a) envisages performance abroad and/or (b) has a

reasonable relationship with one or more foreign states. See 9 USC §§ 202-203.

        8.         This Court has personal jurisdiction over VTS because the Parties’ Arbitration

Agreement expressly designated New York, New York as the legal seat of the Arbitration and

VTS participated fully in the Arbitration in New York, New York. See Alstom Brasil Energia e

Transporte Ltda. v. Mitsui Sumitomo Seguros S.A., 15 Civ. 8221 (AKH), 2016 WL 3476430, at *5

(S.D.N.Y. June 20, 2016) (“It is well-settled that federal courts applying New York law have

personal jurisdiction over parties that agree to arbitrate their disputes in New York. Such a

designation functions as the party’s consent to jurisdiction, because to hold otherwise would be to

render the arbitration clause a nullity.”) (cleaned up); see also N.Y. C.P.L.R. § 302(a)(1); Sole

Resort, SA. de C.V. v. Allure Resorts Mgmt., LLC, 450 F.3d 100, 104 (2d Cir. 2006) (“New York

contacts underlying a contract that provides for arbitration have the requisite relationship

under section 302(a)(1) to a claim challenging the results of that arbitration.”).

        9.         Venue is proper in this judicial district pursuant to section 204 of the FAA because

the Southern District of New York “embraces the place designated in the [arbitration] agreement

as the place of arbitration,” namely New York, New York. 9 U.S.C. § 204; see also Doctor’s

Assocs. v. Stuart, 85 F.3d 975, 983 (2d Cir. 1996) (“A party who agrees to arbitrate in a particular

jurisdiction consents not only to personal jurisdiction but also to venue of the courts within that

jurisdiction.”).




                                                    4
          Case 1:24-cv-02595-MMG Document 1 Filed 04/05/24 Page 5 of 9




                                  FACTUAL BACKGROUND

       10.     The Arbitration arose out of an insurance coverage dispute involving an

international trade credit insurance policy, written on a “Domestic and Export Credit Insurance

Shipments Form,” that NUFIC issued to VTS for the period July 1, 2020 to July 1, 2021 (the

“Policy”).   In seeking insurance coverage from NUFIC, VTS represented that it was an

intermediate wholesale telecommunications carrier of VoIP voice and data minutes operating in a

“complex international telecommunications business setting.” See Hansson Decl., Exhibit 1 at 11-

12 and 51.

       11.     In a wholesale VoIP transaction, “a call, particularly an international call, is routed

from a beginning point caller across several carriers… until eventually the call ‘terminates’ at the

end point.” Id. at 11. According to VTS, VTS operated as one of those intermediate carriers

responsible for facilitating the completion of those calls to their final destination, typically in

developing nations. The Policy that VTS sought and ultimately obtained from NUFIC provided

coverage for VTS’s international wholesale VoIP transactions with an enumerated group of

domestic and international customers located in the United States, Hong Kong, Romania,

Switzerland, and the United Kingdom. See Hansson Decl., Exhibit 2 at 15 (Policy Endorsement

No. 1 (enumerating the customer countries covered under the Policy)).

       12.     In or around November 2020, VTS filed multiple claims under the Policy in

connection with invoices for telecommunications services that VTS alleged its customers never

paid (the “Claimed Transactions”). Each of these Claimed Transactions allegedly involved

VTS’s purchase and sale of international wholesale VoIP minutes that ultimately terminated in

Zambia.




                                                 5
          Case 1:24-cv-02595-MMG Document 1 Filed 04/05/24 Page 6 of 9




       13.     After a thorough investigation, in May 2021, NUFIC concluded that, for numerous

reasons, VTS was not entitled to reimbursement for any of the Claimed Transactions and, further,

that the Policy was void and all premiums paid to NUFIC were forfeited. Id. at 31.

       14.     On August 10, 2021, VTS initiated an arbitration with the American Arbitration

Association pursuant to the Policy’s Arbitration Agreement memorialized in Article VI.C of the

Policy (as amended by Endorsement 5 of the Policy). See Hansson Decl., Exhibit 2 at 12, 19-20.

By joint letter to the American Arbitration Association dated September 2, 2021, the Parties

subsequently confirmed that the legal seat of the Arbitration would be New York City and that any

hearings would be conducted in New York City. See Hansson Decl., Exhibit 3.

       15.     In accordance with the Arbitration Agreement, the Parties selected Mr. Mark C.

Morril as the duly appointed and authorized sole arbitrator.

       16.     Following several rounds of pre-hearing briefing and reciprocal document

disclosure, a final evidentiary hearing was conducted before Mr. Morril in New York City from

October 19, 2022 to October 20, 2022.

                                THE ARBITRATION AWARD

       17.     Mr. Morril issued the Final Award on April 7, 2023 in favor of NUFIC. See

Hansson Decl., Exhibit 1. In the Final Award, Mr. Morril rejected all of VTS’s claims and ruled

that NUFIC’s denial of coverage and voidance of the Policy was justified. Id. at 53-54.

       18.     The Final Award also rejected VTS’s claims for attorneys’ fees and arbitration costs

in its entirety, and, instead, awarded NUFIC a net total of US$345,836.50 in fees and costs from

VTS.




                                                6
          Case 1:24-cv-02595-MMG Document 1 Filed 04/05/24 Page 7 of 9




       19.     Despite several demands for payment from NUFIC, VTS has not paid the

US$345,836.50 awarded to NUFIC in the Final Award.

                                           COUNT ONE
         (Confirmation and Enforcement of Arbitral Award Under 9 U.S.C. § 207)

       20.     NUFIC repeats and incorporates each and every allegation in the preceding

paragraphs 1 through 19, as if fully set forth within.

       21.     The Final Award is subject to the New York Convention, because the Final Award

arises out of a commercial relationship between the Parties that envisages performance abroad

and/or has a reasonable relationship with one or more foreign states. 9 USC §§ 202-203.

       22.     Consistent with the Parties’ Arbitration Agreement, the Final Award was made at

the place of arbitration designated in that Arbitration Agreement, i.e., New York City, New York,

by a duly appointed sole arbitrator.

       23.     The New York Convention, incorporated into 9 U.S.C. § 201, requires that the party

applying for confirmation shall, at the time of its application, submit: “(a) [t]he duly authenticated

original award or a duly certified copy thereof; [and] (b) [t]he original agreement referred to in

article II or a duly certified copy thereof.” Article IV, New York Convention. These requisite

documents are attached as Exhibits 1 to 3 to the Hansson Declaration.

       24.     Pursuant to 9 U.S.C. § 207, NUFIC has brought this petition within three years after

the Final Award was made on April 7, 2023.

       25.     9 U.S.C. § 207 provides that, in an action to confirm an arbitral award governed by

the New York Convention, the “court shall confirm the award unless it finds one of the grounds

for refusal or deferral of recognition or enforcement of the award specified in the said Convention.”




                                                  7
            Case 1:24-cv-02595-MMG Document 1 Filed 04/05/24 Page 8 of 9




As demonstrated further in the accompanying Memorandum of Law, none of the New York

Convention’s enumerated grounds for refusing or deferring recognition or enforcement apply to

the Final Award. In sum, the Final Award is fully and immediately enforceable as a final and

binding arbitration award.

          26.   By reason of the foregoing, the Court should issue an order confirming and

enforcing the Final Award and direct that judgment be entered thereon.

                                     PRAYER FOR RELIEF

WHEREFORE, NUFIC respectfully requests that this Court:

   (i)      Issue an order confirming and enforcing the terms of the Final Award and entering

            judgement thereon;

   (ii)     Issue an order requiring VTS to pay post-award, pre-judgment interest on the total

            amount of US$345,836.50 owed to NUFIC pursuant to the Final Award, as from the

            date the Final Award was transmitted to the Parties (i.e., April 7, 2023) until such time

            as judgment is entered on the Final Award, at the rate and in the manner prescribed by

            28 U.S.C. § 1961;

   (iii)    Issue an order requiring VTS to pay post-judgment interest on the total amount of

            US$345,836.50 owed to NUFIC pursuant to the Final Award, as from the date judgment

            is entered on the Final Award until such time as VTS pays this amount in its entirety, at

            the rate and in the manner prescribed by 28 U.S.C. § 1961;

   (iv)     Issue an order allowing pre-judgment discovery pursuant to Fed. R. Civ. P. Rule 64 and

            New York CPLR § 5229 prior to confirming the Final Award, or in the alternative, retain

            jurisdiction after confirming the Final Award to grant pre-judgment discovery;



                                                  8
         Case 1:24-cv-02595-MMG Document 1 Filed 04/05/24 Page 9 of 9




  (v)    Issue an order allowing attachment of any assets identified in pre-judgment discovery

         pursuant to Fed. R. Civ. P. Rule 64 and New York CPLR § 5229 prior to confirming the

         Final Award, or in the alternative, retain jurisdiction after confirming the Final Award

         to grant pre-judgment attachment of any assets identified in the pre-judgment discovery;

         and

  (vi)   Award NUFIC such other and further relief that this Court deems just and proper.


Dated: April 5, 2024                               Respectfully submitted,

                                                   PAUL HASTINGS LLP


                                                   /s/ Kurt W. Hansson
                                                   Kurt W. Hansson
                                                   200 Park Avenue
                                                   New York, NY 10166
                                                   Tel: (212) 318-6000
                                                   Fax: (212) 319-4090
                                                   kurthansson@paulhastings.com

                                                   Joseph R. Profaizer (Pro Hac Vice Forthcoming)
                                                   Adam J. Weiss (Pro Hac Vice Forthcoming)
                                                   2050 M Street NW
                                                   Washington, DC 20036
                                                   Tel: (202) 551-1700
                                                   Fax: (202) 551-1705
                                                   joeprofaizer@paulhastings.com
                                                   adamweiss@paulhastings.com

                                                   Attorneys for Petitioner
                                                   National Union Fire Insurance Company of
                                                   Pittsburgh, PA




                                               9
